Case 1:01-cv-12257-PBS Document 6625-11 Filed 11/02/09 Page 1 of 10




               ANDERSON EXHIBIT 4
Case 1:01-cv-12257-PBS Document 6625-11 Filed 11/02/09 Page 2 of 10



                    Cardinal Health (Lyle Donald)
                                                                   1


  1               UNITED STATES DISTRICT COURT

  2            FOR THE DISTRICT OF MASSACHUSETTS
  3   - - - - - - - - - - - - - - - -

  4   IN RE:   PHARMACEUTICAL             ) MDL No. 1456
  5   INDUSTRY AVERAGE WHOLESALE          ) CIVIL ACTION
  6   PRICE LITIGATION                    ) 01-CV-12257-PBS

  7                                       )
  8   THIS DOCUMENT RELATES TO            )

  9   THE CONSOLIDATED NEW YORK           ) Judge Patti B. Saris

 10   COUNTY ACTIONS, THE CALIFORNIA )
 11   ACTION, AND THE IOWA ACTION         )

 12   - - - - - - - - - - - - - - - -

 13      (cross captions appear on following pages)

 14      "HIGHLY CONFIDENTIAL-FOR ATTORNEYS' EYES ONLY"
 15                VIDEOTAPED DEPOSITION OF

 16              CARDINAL HEALTH (DONALD LYLE)

 17                           Tuesday, July 22, 2008
                              9:07 o'clock a.m.
 18                           Jones Day
                              325 John H. McConnell Boulevard
 19                           Suite 600
                              Columbus, Ohio 43215
 20                            - - -

 21                      SHAYNA M. GRIFFIN
 22             REGISTERED PROFESSIONAL REPORTER




                                                                   2


  1               UNITED STATES DISTRICT COURT

  2            FOR THE DISTRICT OF MASSACHUSETTS
  3   - - - - - - - - - - - - - - - -

  4   IN RE:   PHARMACEUTICAL             ) MDL No. 1456

                                 Page 1
Case 1:01-cv-12257-PBS Document 6625-11 Filed 11/02/09 Page 3 of 10



                     Cardinal Health (Lyle Donald)
  2   A.           The CHOICE HQ and the entelligence
  3   software was a tool that was given to customers that
  4   had the multiple stores, facilities, sites that

  5   allowed them to accumulate this up into a -- lack of
  6   better choice of words, a sales data warehouse.        It's

  7   a storage of sales data that they have access to.
  8   It's not a web-based -- I'm sorry.       It's not an
  9   ordering platform, it is a sales database, for the

 10   most part.
 11   Q.           Okay.   Would the ordering platform for

 12   almost all of the customers be CHOICE, just

 13   CardinalCHOICE itself?
 14   A.           At what point in time are you referring

 15   to?

 16   Q.           I'm talking about over the years up to the

 17   present.
 18   A.           The evolution?   What you have is you

 19   have -- you know, you can call an order in.       You can

 20   use the -- you could have used the CardinalCHOICE or

 21   the Cardinal.com.    There is EDI ordering that the
 22   customers utilize.     There was the Telxon or handheld



                                                                    139



  1   device that you would hook up to a phone that allowed
  2   it to transmit over the phone.       You could call in
  3   and -- over the past number of years and do IVR or
  4   the voice-activated, placing the order through that

  5   on a telephone, using the phone to key in your order.
  6   So those were the methods of placing your orders.

  7   Q.           Okay.   And is it true that Cardinal has

                                Page 112
Case 1:01-cv-12257-PBS Document 6625-11 Filed 11/02/09 Page 4 of 10



                   Cardinal Health (Lyle Donald)
  8   sought to encourage pharmacies to utilize the
  9   pharmacy operation software in ascertaining which
 10   products to order?

 11              MS. HANSEN:   Objection to form.
 12   A.         Correct.

 13   Q.         Okay.   I'm going to be focusing a lot of
 14   my questions now on the pharmacies' use of the
 15   software in determining what to order as opposed to

 16   the technical logistics of how the order is placed.
 17   Okay?

 18   A.         Okay.   Uh-huh.

 19   Q.         Is it true that over the years Cardinal
 20   has offered these tools to pharmacies to assist the

 21   pharmacies in making the most financially beneficial

 22   decision possible in selecting a drug?




                                                               140


  1              MS. HANSEN:   Objection.    Form.

  2              MR. STEPHENS:     Objection as to form.

  3   A.         Yes.
  4   Q.         And as a part of that process, has
  5   Cardinal provided AWP information to pharmacies?

  6   A.         Yes.

  7   Q.         And is it true that the AWPs have been
  8   shared because they serve as a gauge of
  9   pharmaceutical drug reimbursement by third parties,
 10   including Medicaid?

 11              MS. HANSEN:   Objection to form.    Lack of
 12   foundation.

 13   A.         Yes.

                               Page 113
Case 1:01-cv-12257-PBS Document 6625-11 Filed 11/02/09 Page 5 of 10



                    Cardinal Health (Lyle Donald)
  8   Q.          Is it a fairly new occurrence or is it
  9   likely that it's been going on for several years?
 10   A.          Well, I'm going to assume this is from

 11   2002, so I'll guess it's been going on for a number
 12   of years.

 13   Q.          So at least back to 2001, 2002, and
 14   potentially earlier?
 15   A.          Yes.

 16   Q.          Then the first bullet under this "Managing
 17   the Program" section on the right-hand side is titled

 18   "Competitive Analyses"; correct?

 19   A.          Yes.
 20   Q.          What -- what is meant by that reference?

 21   A.          What is meant by that reference is

 22   utilizing any strategic information we have on other




                                                               161


  1   competitors' programs and doing analysis between ours

  2   and theirs.

  3   Q.          So in this context, you're talking about
  4   Cardinal as Cardinal competes and providing
  5   information to pharmacies with other wholesalers such

  6   as McKesson or AmerisourceBergen; correct?

  7   A.          Yes, correct.
  8   Q.          And is it your understanding that these
  9   other wholesalers do also share information through
 10   software such as pharmacy operation tools like

 11   Cardinal?
 12               MS. HANSEN:   Objection to form.

 13   A.          Yes.

                                Page 130
Case 1:01-cv-12257-PBS Document 6625-11 Filed 11/02/09 Page 6 of 10



                   Cardinal Health (Lyle Donald)
 14   Q.         And those wholesalers also are assisting
 15   pharmacies throughout America in evaluating which
 16   generics are most profitable to purchase; correct?

 17              MS. HANSEN:    Same objections.
 18   A.         Yes.

 19   Q.         Including an evaluation of AWP; correct?
 20              MS. HANSEN:    Same objections.
 21   BY MR. ANDERSON:

 22   Q.         To the best of your knowledge.



                                                               162



  1   A.         Yes.
  2   Q.         All right.    Now, looking on "Managing the

  3   Program" section, the third bullet on the right-hand

  4   side reads "Medicaid Eligibility."

  5              Did I read that correctly?

  6   A.         Yes, sir.
  7   Q.         Why is Medicaid eligibility for a drug

  8   product important to the CardinalSOURCE program?

  9   A.         In order for them to be reimbursed it has
 10   to be approved by Medicaid.
 11   Q.         And is reimbursement for a generic drug

 12   important in the sales of that drug?

 13   A.         Yes.
 14   Q.         Have you experienced customers' complaints
 15   about a generic drug not being eligible for
 16   reimbursement by a Medicaid program?

 17              MS. HANSEN:    Objection to form.
 18   A.         Personally, no.

 19   Q.         Have you heard that Cardinal from time to

                               Page 131
Case 1:01-cv-12257-PBS Document 6625-11 Filed 11/02/09 Page 7 of 10



                   Cardinal Health (Lyle Donald)
 14   until prior to '94 in your position here today as the
 15   Cardinal designee?
 16   A.         Whether all of these were in there --

 17   since this is a '95 document, I will say yes.
 18   Q.         And still to this day, Cardinal offers

 19   spread evaluation tools to pharmacies; correct?
 20   A.         In CardinalCHOICE.
 21   Q.         Yes.

 22   A.         I am not aware of Cardinal.com having the



                                                              183



  1   spread.
  2   Q.         Okay.   But pharmacies still utilize

  3   CardinalCHOICE, don't they?

  4   A.         A small portion, yes.

  5   Q.         Most of them have transitioned over?

  6   A.         Yes.
  7   Q.         Is it true that in the context of

  8   Cardinal's software tools evaluating spread for

  9   pharmacies that AWP was part of that analysis?
 10              MS. HANSEN:   Objection to form.
 11   A.         Yes.

 12   Q.         So in a particular instance on a given

 13   pharmacy's choice of a generic drug, they may be able
 14   to evaluate the spread of Mylan's product as compared
 15   to the competitive Barr product using Cardinal's
 16   software; correct?

 17              MS. HANSEN:   Objection to form.
 18              MR. STEPHENS:   Objection as to form.

 19   A.         In CardinalCHOICE, yes.

                               Page 148
Case 1:01-cv-12257-PBS Document 6625-11 Filed 11/02/09 Page 8 of 10



                     Cardinal Health (Lyle Donald)
 20   Q.           And that same type of analysis would be
 21   something that pharmacies can conduct on any
 22   therapeutically equivalent generic drug class?




                                                                  184


  1                MS. HANSEN:   Objection to form.

  2   A.           They can do it on any item.    It's a spread

  3   analysis that gives it to it.     So it would be for any
  4   item.
  5   Q.           Oh, so it's on an NDC level?

  6   A.           What it does is you have the ability to

  7   bring up alternatives based on spread depending on
  8   how you configure your CardinalCHOICE systems work.

  9   So it will go through the system and determine for

 10   that GCN or NDC, which is part of the NDC number,

 11   what has the best spread.

 12   Q.           And the GCN that you just referenced is an
 13   acronym --

 14   A.           Yeah.

 15   Q.           -- that describes a therapeutic class of
 16   generics?
 17   A.           Yes, sir.

 18   Q.           So it is true that over the years

 19   pharmacies could use this software and ascertain
 20   which generic drug in a therapeutic class have the
 21   best spread?
 22   A.           Yes, sir.




                                                                  185


                                 Page 149
Case 1:01-cv-12257-PBS Document 6625-11 Filed 11/02/09 Page 9 of 10



                    Cardinal Health (Lyle Donald)
  1              MS. HANSEN:    Objection.   Form.

  2              MR. ANDERSON:    What's the objection with
  3   that question?
  4              MS. HANSEN:    "Over the years."    It's

  5   vague.   If you can make a time frame.
  6   BY MR. ANDERSON:
  7   Q.         All right.    From 1991 until today, the

  8   CardinalCHOICE software has enabled pharmacies to

  9   ascertain best spread within a given generic
 10   therapeutic class; correct?
 11   A.         I can answer from 1994, yes.

 12   Q.         All right.    And you realize you're

 13   designated back to '91, and as the designee, it's
 14   your best information that that capability existed

 15   prior to '94; correct?

 16   A.         Yes.

 17   Q.         Now, if you could flip, sir, to the page

 18   that's Bates labeled ABT005777.    And, again, this is
 19   in Lyle Exhibit 8, also marked as Erick Exhibit 18.

 20              And up at the top it reads, "Media

 21   Marketing/Healthtouch"; correct?
 22   A.         Yes, sir.




                                                               186


  1   Q.         And looking at the last primary bullet,

  2   that bullet reads, "Media/Promotional Opportunities
  3   for Manufacturers"; correct?

  4   A.         Yes, sir.
  5   Q.         And then the very first subcategory reads
  6   "CardinalCHOICE"; correct?
                              Page 150
Case 1:01-cv-12257-PBS Document 6625-11 Filed 11/02/09 Page 10 of 10



                     Cardinal Health (Lyle Donald)
  5   A.           I am not aware of that.
  6   Q.           Okay.   And just one follow-up question to
  7   Mr. Henderson's questions about state Medicaid

  8   programs not being customers of Cardinal.        Is it true
  9   that state Medicaid programs, because they are not

 10   customers of Cardinal and never have been, have never
 11   had access to Cardinal's software purchasing tools
 12   such as CardinalCHOICE, CardinalCHOICE HQ,

 13   eprocurement, et cetera?
 14                MS. HANSEN:    Objection to form.

 15   A.           To my knowledge, they have not.

 16                MR. ANDERSON:    Thank you.
 17                MR. JULIE:    I object.    No foundation.

 18                MR. ANDERSON:    Pardon?

 19                MR. JULIE:    I object.    No foundation.

 20                MR. ANDERSON:    I'll pass the witness.
 21                MS. HANSEN:    Does anyone on the phone have

 22   questions?




                                                                     297


  1                MR. LYNN:    This is Paul Lynn.    I do not.
  2                MR. LIBMAN:    This is Mr. Libman.    I have

  3   no further questions.

  4                MR. STEPHENS:    All right.    Well, then if
  5   there are no more questions, our witness is going to
  6   read and sign the transcript.      So we'll deal with
  7   that when it comes.      Other than that, we'll close the

  8   deposition.
  9                THE VIDEOGRAPHER:    End of deposition.     Off

 10   the record at 1637.

                                 Page 240
